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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  )
 v.                                               )       Criminal Case No. 25-cr-00006-LKG
                                                  )
 THOMAS C. GOLDSTEIN,                             )       Dated: February 14, 2025
                                                  )
          Defendant.                              )
                                                  )

                                                ORDER
         On February 5, 2025, the Defendant filed pro se motions to review and to modify a condition
of his release to substitute certain South Carolina properties (The “South Carolina Properties”) for his
Washington, DC residence (the “Washington, DC Residence”) as collateral to reasonably assure his
appearance and to limit the scope of the forfeiture allegation in the Indictment. ECF No. 30. On
February 6, 2025, the Government filed a motion to strike the Defendant’s motions. ECF No. 32.
These motions are fully briefed. ECF Nos. 30, 32, 34 and 67. The Court held a hearing on these
matters on February 14, 2025. ECF No. 71.

         In light of the foregoing, and for the reasons stated during the February 14, 2025, hearing, the
Court:

         1. DENIES the Government’s motion to strike (ECF No. 32);
         2. DENIES the Defendant’s motion to review and to modify the conditions of his release to
             substitute the South Carolina Properties for the Washington, DC Residence (ECF No. 30)
             WITHOUT PREJUDICE and SUSTAINS the decision of the Chief Magistrate Judge;
             and
         3. DENIES the Defendant’s motion to limit the scope of the forfeiture allegation in the
             Indictment (ECF No. 30) WITHOUT PREJDUCICE.

A memorandum opinion consistent with this Order shall follow.

         IT IS SO ORDERED.


                                                      s/ Lydia Kay Griggsby
                                                      LYDIA KAY GRIGGSBY
                                                      United States District Judge
